         Case 3:13-cr-05308-BHS       Document 115      Filed 05/13/14        Page 1 of 2



1
                                                    THE HONORABLE BENJAMIN H. SETTLE
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6
                                 UNITED STATES DISTRICT COURT
7                               WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
8
                                                )
9    UNITED STATES OF AMERICA,                  )   Case No.: CR13-5308BHS
                                                )
10                 Plaintiff,                   )   ORDER ON DEFENDANT’S MOTION
            vs.                                 )   TO CONTINUE DATE TO SELF-
11                                              )   SURRENDER
     RAY EUGENE CALDWELL,                       )
12                                              )
                   Defendant.
                                                )
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                                                )
14

15          THIS MATTER having come on before the undersigned judge of the above-

16   captioned Court upon the motion of the defendant for an order extending the date for
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     the defendant to self-surrender; the Government being represented by and through its
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     attorney, AUSA James Oesterle, who has agreed with the request; and the defendant,
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20   Ray E. Caldwell being represented by and through his attorney, Wayne C. Fricke of the

21   Hester Law Group, Inc., P.S., and the Court being fully advised in the premises, now,
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     therefore, it is hereby
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            ORDERED, ADJUDGED AND DECREED that the defendant’s motion to
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25   continue the date to self-surrender is hereby GRANTED: it is further

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     ORDER EXTENDING SELF-                                      HESTER LAW GROUP, INC., P.S.
                                                                 1008 So. Yakima Ave., Suite 302
     SURRENDER DATE - 1                                                Tacoma, WA 98405
                                                               (253) 272-2157 / Fax: (253) 572-1441
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1            ORDERED, ADJUDGED AND DECREED that the defendant’s date (May 20,
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     2014) to self-surrender to BOP Sheridan is hereby STRICKEN; it is further
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             ORDERED, ADJUDUGED AND DECREED that the defendant shall self-
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5    surrender himself to BOP Sheridan on a date to be set by the Bureau of Prisons.

6            IT IS SO ORDERED.
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             DATED this 13th day of May, 2014.
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                                              A
                                              BENJAMIN H. SETTLE
                                              United States District Judge

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14   Presented by :

15   HESTER LAW GROUP, INC., P.S.
     Attorneys for defendant
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18   By:     /s/ Wayne C. Fricke
19
             WAYNE C. FRICKE
             WSB #16550
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     ORDER EXTENDING SELF-                                       HESTER LAW GROUP, INC., P.S.
                                                                  1008 So. Yakima Ave., Suite 302
     SURRENDER DATE - 2                                                 Tacoma, WA 98405
                                                                (253) 272-2157 / Fax: (253) 572-1441
